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   8   Martha Parra, Michelle Marie Dick,
       and Jeffrey Montes
   9
                            UNITED STATES DISTRICT COURT
  10
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11

  12   MICHAEL KIRBY, LAURA                       Case No.: 5:19-cv-00833-JLS-DFM
       KINGSTON, KEOSHA GATES,
  13   MARTHA PARRA, MICHELLE                     SECOND AMENDED CLASS
       MARIE DICK, JEFFREY MONTES,                ACTION COMPLAINT
  14   individually, and on behalf of other
       members of the general public              (1) Violation of California Labor Code
  15   similarly situated,                           §§ 510 and 1198 (Unpaid Overtime);
                                                  (2) Violation of California Labor Code
  16               Plaintiffs,                        §§ 1182.12, 1194, 1197, 1197.1, and
                                                      1198 (Unpaid Minimum Wages);
  17         vs.                                  (3) Violation of California Labor Code
                                                      §§ 226.7, 512(a), and 1198 (Failure
  18   KINDRED HEALTHCARE                             to Provide Meal Periods);
       OPERATING, LLC, a Delaware                 (4) Violation of California Labor Code
  19   limited liability company; KND 52,             §§ 226.7 and 1198 (Failure to
       L.L.C., a Delaware limited liability           Provide Rest Periods);
  20   company; KND 55, L.L.C., a                 (5) Violation of California Labor Code
       Delaware limited liability company;            §§ 226(a), 1174(d), and 1198 (Non-
  21   THC - ORANGE COUNTY, LLC, a                    Compliant Wage Statements and
       California limited liability company;          Failure to Maintain Payroll Records);
  22   Bayberry Care Center, L.L.C., a            (6) Violation of California Labor Code
       Delaware limited liability company;            §§ 201, 202, and 203 (Wages Not
  23   Foothill Nursing Company                       Timely Paid Upon Termination);
       Partnership, a California general          (7) Violation of California Labor Code
  24   partnership; and DOES 1 through 10,            § 1198 and California Code of
       inclusive,                                     Regulations Title 8, Section 11050
  25                                                  Subdivision 4(C) (Failure to
                   Defendants.                        Compensate for Split-Shifts);
  26                                              (8) Violation of Labor Code § 1198 and
                                                      California Code of Regulations Title
  27                                                  8, Section 11050 Subdivision 5(A)
                                                      (Failure to Provide Reporting Time
  28                                                  Pay);


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   1                                           (9) Violation of California Labor Code §
                                                  2802 (Unreimbursed Business
   2                                              Expenses);
                                               (10) Violation of California Business
   3                                              & Professions Code §§ 17200, et
                                                  seq. (Unlawful Business Practices);
   4                                              and
                                               (11) Violation of California Business
   5                                              & Professions Code §§ 17200, et
                                                  seq. (Unfair Business Practices).
   6
                                               Jury Trial Demanded
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   1         Plaintiffs Michael Kirby, Laura Kingston, Keosha Gates, Martha Parra,
   2   Michelle Marie Dick, and Jeffrey Montes (“Plaintiffs”), as individuals, and on
   3   behalf of all other members of the public similarly situated, allege as follows
   4   against Defendants:
   5                                JURISDICTION AND VENUE
   6                This class action is brought pursuant to Rule 23 of the Federal Rules
   7   of Civil Procedure.
   8                This Court has original jurisdiction over the subject matter of this
   9   action pursuant to 28 U.S.C. §§ 1331-1332. Plaintiffs allege, on information and
  10   belief, that the aggregate amount in controversy for this class action exceeds five
  11   million dollars ($5,000,000.00) exclusive of interest and costs, that the proposed
  12   class is greater than one-thousand (1000) members, and that any one plaintiff is a
  13   citizen of a state different from that of any defendant. See Class Action Fairness
  14   Act (“CAFA”), Pub. L. 109-2, 119 Stat. 4 (2005). The Court maintains
  15   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
  16   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) and (b) because
  17   Defendants maintain offices, have agents and are licensed to and do transact
  18   business in this district.
  19                                       THE PARTIES
  20                Plaintiff Michael Kirby is a resident of West Covina, California.
  21   Defendants jointly employed Plaintiff Kirby as an hourly, non-exempt
  22   Environmental Services Aide from approximately January 2016 to July 2016.
  23   During his employment, Plaintiff Kirby worked for Defendants at a Kindred
  24   Hospital in Baldwin Park, California. As an Environmental Services Aide,
  25   Plaintiff Kirby typically worked eight (8) hours per day, four (4) to five (5) days
  26   per week, and 32 to 40 hours per week. At the time Plaintiff Kirby’s
  27   employment with Defendants ended, he earned an hourly rate of approximately
  28   $12.00. Plaintiff Kirby’s job duties included, without limitation, cleaning and

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   1   stocking patient rooms, emptying trash cans, picking up and moving heavy bags
   2   of linen, and vacuuming and waxing floors.
   3                Plaintiff Laura Kingston is a resident of Hesperia, California.
   4   Defendants jointly employed Plaintiff Kingston as an hourly, non-exempt
   5   Materials Management Clerk from approximately June 2012 to March 2018.
   6   During her employment, Plaintiff Kingston worked for Defendants at Kindred
   7   Hospitals in Ontario and Rancho Cucamonga, California. As a Materials
   8   Management Clerk, Plaintiff Kingston typically worked eight (8) hours per day
   9   for five (5) days per week. Plaintiff Kingston’s job duties included, without
  10   limitation, receiving shipments, maintaining supplies, and stocking supplies
  11   according to the needs of each floor of the hospital.
  12                Plaintiff Keosha Gates is a resident of Los Angeles, California.
  13   Defendants jointly employed Plaintiff Gates as an hourly, non-exempt Certified
  14   Nursing Assistant from approximately February 2013 to February 2015. During
  15   her employment, Plaintiff Gates worked for Defendants at a Kindred facility in
  16   Los Angeles, California. As a Certified Nursing Assistant, Plaintiff Gates
  17   typically worked twelve (12) or more hours per day for four (4) to five (5) days
  18   per week. Plaintiff Gates’ job duties included cleaning and turning patients,
  19   changing patient beds, washing patients’ hair, and assisting registered nurses and
  20   licensed vocational nurses.
  21                Plaintiff Martha Parra is a resident of Bay Point, California.
  22   Defendants jointly employed Plaintiff Parra as an hourly, non-exempt Cook from
  23   approximately February 2016 to August 2017. During her employment, Plaintiff
  24   Parra worked for Defendants at a Kindred facility in Concord, California. As a
  25   Cook, Plaintiff Parra typically worked eight (8) hours per day for four (4) or five
  26   (5) days per week. Plaintiff Parra’s job duties included cooking and preparing
  27   meals for the cafeteria.
  28                Plaintiff Michelle Marie Dick is a resident of San Leandro,

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   1   California. Defendants jointly employed Plaintiff Dick as an hourly, non-exempt
   2   Certified Nursing Assistant from approximately May 2017 to the present.
   3   Plaintiff Dick works for Defendants in a Kindred facility in San Leandro,
   4   California. As a Certified Nursing Assistant, Plaintiff Dick typically works
   5   twelve (12) hours per day for three (3) to five (5) days per week. Plaintiff Dick’s
   6   job duties include cleaning and turning patients, changing patient beds, washing
   7   patients’ hair, and assisting registered nurses and licensed vocational nurses.
   8                Plaintiff Jeffrey Montes is a resident of Glendora, California.
   9   Defendants jointly employed Plaintiff Montes as an hourly, non-exempt Dietary
  10   Aide, Cook, and Prep Cook from approximately 2014 to May 2017. During his
  11   employment, Plaintiff Montes worked for Defendants in a Kindred facility in
  12   Glendora, California. As a Dietary Aid, Cook, and Prep Cook, Plaintiff Montes
  13   typically worked eight (8) hours per day for five (5) days per week. Plaintiff
  14   Montes’ job duties included washing dishes, preparing food trays for patients,
  15   cooking meals and side dishes, preparing ingredients and desserts, cleaning and
  16   sanitizing equipment, and logging regulatory information.
  17                Defendant KINDRED HEALTHCARE OPERATING, LLC is, on
  18   information and belief, a Delaware limited liability company doing business in
  19   California, with its principal place of business in Louisville, Kentucky, and at all
  20   times hereinafter mentioned, an employer whose employees are engaged
  21   throughout this county, the State of California, and/or the various states of the
  22   United States of America.
  23                Defendant KND 52, L.L.C. is, on information and belief, a
  24   Delaware limited liability company doing business in California, with its
  25   principal place of business in Louisville, Kentucky, and at all times hereinafter
  26   mentioned, an employer whose employees are engaged throughout this county,
  27   the State of California, and/or the various states of the United States of America.
  28                Defendant KND 55, L.L.C. is, on information and belief, a

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   1   Delaware limited liability company doing business in California, with its
   2   principal place of business in Louisville, Kentucky, and at all times hereinafter
   3   mentioned, an employer whose employees are engaged throughout the State of
   4   California, and/or the various states of the United States of America.
   5                 Defendant THC – ORANGE COUNTY, LLC is, on information and
   6   belief, a California limited liability company doing business in California, with
   7   its principal place of business in Louisville, Kentucky, and at all times
   8   hereinafter mentioned, an employer whose employees are engaged throughout
   9   the State of California, and/or the various states of the United States of America.
  10                 Defendant BAYBERRY CARE CENTER, L.L.C. is, on information
  11   and belief, a Delaware limited liability company doing business in California,
  12   with its principal place of business in Louisville, Kentucky, and at all times
  13   hereinafter mentioned, an employer whose employees are engaged throughout
  14   the State of California, and/or the various states of the United States of America.
  15                 Defendant FOOTHILL NURSING COMPANY PARNTERSHIP is,
  16   on information and believe, a California general partnership doing business in
  17   California, with its principal place of business in Glendora, California and at all
  18   times hereinafter mentioned. an employer whose employees are engaged
  19   throughout the State of California, and/or the various states of the United States
  20   of America.
  21                 Plaintiffs are unaware of the true names or capacities of the
  22   Defendants sued herein under the fictitious names DOES 1 through 10 but will
  23   seek leave of this Court to amend the Complaint and serve such fictitiously
  24   named Defendants once their names and capacities become known.
  25                 Plaintiffs are informed and believe, and thereon allege, that DOES 1
  26   through 10 are the partners, agents, owners, shareholders, managers, or
  27   employees of KINDRED HEALTHCARE OPERATING, LLC, KND 52, L.L.C.,
  28   KND 55, L.L.C., THC - ORANGE COUNTY, LLC, BAYBERRY CARE

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   1   CENTER, L.L.C., and FOOTHILL NURSING COMPANY PARTNERSHIP at
   2   all relevant times.
   3                Plaintiffs are informed and believe, and thereon allege, that each and
   4   all of the acts and omissions alleged herein was performed by, or is attributable
   5   to, KINDRED HEALTHCARE OPERATING, LLC, KND 52, L.L.C.,, KND 55,
   6   L.L.C. , THC - ORANGE COUNTY, LLC, BAYBERRY CARE CENTER,
   7   L.L.C., FOOTHILL NURSING COMPANY PARTNERSHIP and/or DOES 1
   8   through 10 (collectively “Defendants” or “KINDRED”), each acting as the agent
   9   for the other, with legal authority to act on the other’s behalf. The acts of any
  10   and all Defendants represent and were in accordance with Defendants’ official
  11   policy.
  12                At all relevant times, Defendants, and each of them, ratified each
  13   and every act or omission complained of herein. At all relevant times,
  14   Defendants, and each of them, aided and abetted the acts and omissions of each
  15   and all the other Defendants in proximately causing the damages herein alleged.
  16                Plaintiffs are informed and believe, and thereon allege, that each of
  17   said Defendants is in some manner intentionally, negligently, or otherwise
  18   responsible for the acts, omissions, occurrences, and transactions alleged herein.
  19                Under California law, Defendants are jointly and severally liable as
  20   employers for the violations alleged herein because they have each exercised
  21   sufficient control over the wages, hours, working conditions, and employment
  22   status of Plaintiffs and class members. Each Defendant had the power to hire
  23   and fire Plaintiffs and class members, supervised and controlled their work
  24   schedule and/or conditions of employment, determined their rate of pay, and
  25   maintained their employment records. Defendants suffered or permitted
  26   Plaintiffs and class members to work and/or “engaged” Plaintiffs and class
  27   members so as to create a common law employment relationship. As joint
  28   employers of Plaintiffs and class members, Defendants are jointly and severally

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   1   liable for the civil penalties and all other relief available to Plaintiffs and class
   2   members under the law.
   3                Plaintiffs are informed and believe, and thereon allege, that at all
   4   relevant times, Defendants, and each of them, have acted as joint employers with
   5   respect to Plaintiffs and class members because Defendants have:
   6                (a)    jointly exercised meaningful control over the work performed
   7                       by Plaintiffs and class members;
   8                (b)    jointly exercised meaningful control over Plaintiffs and class
   9                       members’ wages, hours, and working conditions, including
  10                       the quantity, quality standards, speed, scheduling, and
  11                       operative details of the tasks performed by Plaintiffs and class
  12                       members;
  13                (c)    jointly required that Plaintiffs and class members perform
  14                       work which is an integral part of Defendants’ businesses; and
  15                (d)    jointly exercised control over Plaintiffs and class members as
  16                       a matter of economic reality in that Plaintiffs and class
  17                       members were dependent on Defendants, who shared the
  18                       power to set the wages of Plaintiffs and class members and
  19                       determine their working conditions, and who jointly reaped
  20                       the benefits from the underpayment of their wages and
  21                       noncompliance with other statutory provisions governing their
  22                       employment.
  23                Plaintiffs are informed and believe, and further allege, that at all
  24   relevant times there has existed a unity of interest and ownership between
  25   Defendants such that any individuality and separateness between the entities has
  26   ceased.
  27                KINDRED HEALTHCARE OPERATING, LLC, KND 52, L.L.C.,
  28   KND 55, L.L.C. , THC - ORANGE COUNTY, LLC, and BAYBERRY CARE

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   1   CENTER, L.L.C., FOOTHILL NURSING COMPANY PARTNERSHIP and
   2   DOES 1-10 are therefore alter egos of each other.
   3               Adherence to the fiction of the separate existence of Defendants
   4   would permit an abuse of the corporate privilege, and would promote injustice
   5   by protecting Defendants from liability for the wrongful acts committed by it
   6   under the name KINDRED.
   7               Plaintiffs further allege, upon information and belief, that
   8   Defendants are alter egos of each other for the additional following reasons:
   9                        KINDRED HEALTHCARE OPERATING, LLC, KND 52,
  10                        L.L.C., KND 55, L.L.C., THC - ORANGE COUNTY, LLC,
  11                        and BAYBERRY CARE CENTER, L.L.C. share the same
  12                        agent for service of process: “CT CORPORATION
  13                        SYSTEM”;
  14                        KINDRED HEALTHCARE OPERATING, LLC, KND 52,
  15                        L.L.C., KND 55, L.L.C., THC - ORANGE COUNTY, LLC,
  16                        and BAYBERRY CARE CENTER, L.L.C. share the same
  17                        entity address of 680 South Fourth Street, Louisville, KY
  18                        40202;
  19                        KINDRED HEALTHCARE OPERATING, LLC entered
  20                        into an “Administrative and Support Services Agreement”
  21                        to provide human resources, payroll, and compliance
  22                        support to KND 52, L.L.C;
  23                        KND 52, L.L.C. is a wholly-owned subsidiary of
  24                        KINDRED HEALTHCARE OPERATING, LLC;
  25                        KND 55, L.L.C. is a wholly-owned subsidiary of KINDRED
  26                        HEALTHCARE OPERATING, LLC;
  27                        THC - ORANGE COUNTY, LLC is a wholly-owned
  28                        subsidiary of KINDRED HEALTHCARE OPERATING,

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   1                          LLC;
   2                          BAYBERRY CARE CENTER, L.L.C. is a wholly-owned
   3                          subsidiary of KINDRED HEALTHCARE OPERATING,
   4                          LLC; and
   5                          FOOTHILL NURSING COMPANY PARTNERSHIP is a
   6                          wholly-owned subsidiary of KINDRED HEALTHCARE
   7                          OPERATING, LLC.
   8                          CLASS ACTION ALLEGATIONS
   9                Plaintiffs bring this action on their own behalf, as well as on behalf
  10   of each and all other persons similarly situated, and thus seek class certification
  11   under California Code of Civil Procedure section 382.
  12                All claims alleged herein arise under California law for which
  13   Plaintiffs seek relief authorized by California law.
  14                Plaintiffs’ proposed class consists of and is defined as follows:
  15                All persons who worked for Defendants as nonexempt,
                    hourly-paid employees in California (excluding
  16                Clinicians and piece-rate paid employees) at any time
                    from May 12, 2013 until the date of trial (“Class”).
  17
                    Plaintiffs’ proposed subclass consists of and is defined as follows:
  18
                    All persons who worked for Defendants as nonexempt,
  19                hourly-paid employees in California (excluding
                    Clinicians and piece-rate paid employees), and whom
  20                received at least one wage statement at any time from
                    May 12, 2016 until the date of trial (“Subclass”).
  21
                    Members of the Class and Subclass are referred to herein as “class
  22
       members.”
  23
                    Plaintiffs reserve the right to redefine the Class and to add
  24
       additional subclasses as appropriate based on further investigation, discovery,
  25
       and specific theories of liability.
  26
                    There are common questions of law and fact as to class members
  27
       that predominate over questions affecting only individual members, including,
  28

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   1   but not limited to:
   2                (a)      Whether Defendants required Plaintiffs and class members to
   3                         work over eight (8) hours per day, over twelve (12) hours per
   4                         day, or over forty (40) hours per week and failed to pay all
   5                         legally required overtime compensation to Plaintiffs and class
   6                         members;
   7                (b)      Whether Defendants failed to pay Plaintiffs and class
   8                         members at least minimum wages for all hours worked;
   9                (c)      Whether Defendants failed to provide Plaintiffs and class
  10                         members with meal periods;
  11                (d)      Whether Defendants failed to provide Plaintiffs and class
  12                         members with rest periods;
  13                (e)      Whether Defendants provided Plaintiffs and class members
  14                         with complete and accurate wage statements as required by
  15                         California Labor Code section 226(a);
  16                (f)      Whether Defendants failed to pay earned overtime wages,
  17                         minimum wages, meal and rest period premiums, and
  18                         reporting time pay due to Plaintiffs and class members upon
  19                         their discharge;
  20                (g)      Whether Defendants failed timely to pay overtime wages,
  21                         minimum wages, meal and rest period premiums, and
  22                         reporting time pay to Plaintiffs and class members during
  23                         their employment;
  24                (h)      Whether Defendants failed to compensate Plaintiffs and class
  25                         members for split shifts when they returned to work for an
  26                         additional shift in the same day, after having been clocked out
  27                         for more than an hour;
  28                (i)      Whether Defendants required Plaintiffs and class members to

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   1                     report to work, but failed to provide them with work or
   2                     provided them with less than half their scheduled day’s work,
   3                     without properly compensating them as required by California
   4                     Code of Regulations, Title 8, section 11050, subsection 5;
   5               (j)   Whether Defendants failed to pay Plaintiffs and class
   6                     members for the costs of mandatory pre-employment physical
   7                     examinations and drug testing;
   8               (k)   Whether Defendants reimbursed Plaintiffs and class members
   9                     for business-related expenses they incurred as a result of their
  10                     employment;
  11               (l)   Whether Defendants engaged in unlawful and unfair business
  12                     practices in violation of California Business & Professions
  13                     Code sections 17200, et seq.; and
  14               (m)   The appropriate amount of damages, restitution, or monetary
  15                     penalties resulting from Defendants’ violations of California
  16                     law.
  17               There is a well-defined community of interest in the litigation and
  18   the class members are readily ascertainable:
  19               (a)   Numerosity: The class members are so numerous that joinder
  20                     of all members would be unfeasible and impractical. The
  21                     membership of the entire class is unknown to Plaintiffs at this
  22                     time; however, the class is estimated to be greater than one
  23                     hundred (100) individuals and the identity of such
  24                     membership is readily ascertainable by inspection of
  25                     Defendants’ employment records.
  26               (b)   Typicality: Plaintiffs are qualified to, and will, fairly and
  27                     adequately protect the interests of each class member with
  28                     whom he has a well-defined community of interest, and

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   1                     Plaintiffs’ claims (or defenses, if any) are typical of all class
   2                     members as demonstrated herein.
   3               (c)   Adequacy: Plaintiffs are qualified to, and will, fairly and
   4                     adequately protect the interests of each class member with
   5                     whom they have a well-defined community of interest and
   6                     typicality of claims, as demonstrated herein. Plaintiffs
   7                     acknowledge that they have an obligation to make known to
   8                     the Court any relationship, conflicts or differences with any
   9                     class member. Plaintiffs’ attorneys, the proposed class
  10                     counsel, are versed in the rules governing class action
  11                     discovery, certification, and settlement. Plaintiffs have
  12                     incurred, and throughout the duration of this action, will
  13                     continue to incur costs and attorneys’ fees that have been, are,
  14                     and will be necessarily expended for the prosecution of this
  15                     action for the substantial benefit of each class member.
  16               (d)   Superiority: The nature of this action makes the use of class
  17                     action adjudication superior to other methods. A class action
  18                     will achieve economies of time, effort, and expense as
  19                     compared with separate lawsuits, and will avoid inconsistent
  20                     outcomes because the same issues can be adjudicated in the
  21                     same manner and at the same time for the entire class.
  22               (e)   Public Policy Considerations: Employers in the State of
  23                     California violate employment and labor laws every day.
  24                     Current employees are often afraid to assert their rights out of
  25                     fear of direct or indirect retaliation. Former employees are
  26                     fearful of bringing actions because they believe their former
  27                     employers might damage their future endeavors through
  28                     negative references and/or other means. Class actions provide

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   1                      the class members who are not named in the complaint with a
   2                      type of anonymity that allows for the vindication of their
   3                      rights while simultaneously protecting their privacy.
   4                             GENERAL ALLEGATIONS
   5                Defendants are a nationwide healthcare services company that
   6   operates hospitals, nursing centers, and assisted living facilities throughout the
   7   United States. Defendants employ approximately 102,000 people nationwide
   8   and thousands of individuals in California.
   9                According to Defendants’ listings on the California Secretary of
  10   State’s website, Defendants maintain their company headquarters in Louisville,
  11   Kentucky. Upon information and belief, Defendants maintain a single,
  12   centralized Human Resources (“HR”) department at their company headquarters,
  13   which is responsible for conducting Defendants’ recruiting and hiring of new
  14   employees, collecting and processing all new hire paperwork, and
  15   communicating and implementing Defendants’ company-wide policies,
  16   including timekeeping policies and meal and rest break policies, to employees
  17   throughout California.
  18                In particular, Plaintiffs and class members, on information and
  19   belief, received the same standardized documents and/or written policies. Upon
  20   information and belief, the usage of standardized documents and/or written
  21   policies, including new hire documents, indicate that Defendants dictated
  22   policies at the corporate level and implemented them company-wide, regardless
  23   of their employees’ assigned locations or positions. Upon information and
  24   belief, Defendants set forth uniform policies and procedures in several
  25   documents provided at an employee’s time of hire. At the time Plaintiff Kirby
  26   was hired, he received documents including, but not limited to, a
  27   Patient/Resident Confidentiality Agreement, Certificate of Compliance, and
  28   Acknowledgment and Receipt of Employee Handbook, informing him that he

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   1   would be subject to the policies and rules listed in the Employee Handbook and
   2   other documents.
   3                Upon information and belief, Defendants require that all new hires
   4   undergo mandatory drug testing as a condition of employment. Defendants
   5   provide their newly-hired employees and/or prospective employees with the
   6   location of the testing facility, select the time and date of the drug test, and
   7   determine the scope of the testing. Defendants require that these newly-hired
   8   employees and/or prospective employees travel using their own vehicles to the
   9   site to undergo the drug test. Upon information and belief, Defendants do not
  10   compensate newly-hired employees and/or prospective employees for the time it
  11   takes to travel to and from the testing facility or for the time it takes to undergo
  12   the drug testing. Upon information and belief, Defendants do not reimburse
  13   employees for the travel expenses they incur getting to and from the testing
  14   facility.
  15                Upon information and belief, Defendants maintain a centralized
  16   Payroll department at their company headquarters in Louisville, Kentucky,
  17   which processes payroll for all non-exempt, hourly-paid employees working for
  18   Defendants at their various locations in California, including Plaintiffs and class
  19   members. Based upon information and belief, Defendants issue the same
  20   formatted wage statements to all non-exempt, hourly paid employees in
  21   California, irrespective of their work location. Upon information and belief,
  22   Defendants process payroll for departing employees in the same manner
  23   throughout the State of California, regardless of the manner in which each
  24   employee’s employment ends.
  25                Based upon information and belief, Defendants issue the same
  26   formatted wage statements to all non-exempt, hourly-paid employees in
  27   California, irrespective of their location, job category, or specific position.
  28   Accordingly, Plaintiffs believe that all class members throughout California were

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   1   affected by Defendants’ noncompliance with wage statement reporting
   2   requirements.
   3                Defendants continue to employ non-exempt, hourly-paid employees
   4   throughout California.
   5                Plaintiffs are informed and believe, and thereon allege, that at all
   6   times herein mentioned, Defendants were advised by skilled lawyers and other
   7   professionals, employees and advisors knowledgeable about California labor and
   8   wage law, employment and personnel practices, and about the requirements of
   9   California law.
  10                Plaintiffs are informed and believe, and thereon allege, that
  11   Defendants knew or should have known that Plaintiffs and class members were
  12   entitled to receive certain wages for overtime compensation and that they were
  13   not receiving certain wages for overtime compensation.
  14                Plaintiffs are informed and believe, and thereon allege, that
  15   Defendants knew or should have known that Plaintiffs and class members were
  16   entitled to receive at least minimum wages for compensation and that, in
  17   violation of the California Labor Code, they were not receiving at least minimum
  18   wages for work that Defendants knew or should have known was performed.
  19                Plaintiffs are informed and believe, and thereon allege, that
  20   Defendants knew or should have known that Plaintiffs and class members were
  21   entitled to meal periods in accordance with the Labor Code or payment of one
  22   (1) additional hour of pay at their regular rate when they were not provided with
  23   timely, uninterrupted, thirty (30) minute meal periods and that Plaintiffs and
  24   class members were not provided with all meal periods or payment of one (1)
  25   additional hour of pay at their regular rates when they did not receive a timely,
  26   uninterrupted, thirty (30) minute meal period.
  27                Plaintiffs are informed and believe, and thereon allege, that
  28   Defendants knew or should have known that Plaintiffs and class members were

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   1   entitled to rest periods in accordance with the Labor Code and applicable IWC
   2   Wage Order or payment of one (1) additional hour of pay at their regular rates
   3   when they were not provided with a compliant rest period and that Plaintiffs and
   4   class members were not provided compliant rest periods or payment of one (1)
   5   additional hour of pay at their regular rates when they were not provided a
   6   compliant rest period.
   7                 Plaintiffs are informed and believe, and thereon allege, that
   8   Defendants knew or should have known that Plaintiffs and class members were
   9   entitled to receive complete and accurate wage statements in accordance with
  10   California law. In violation of the California Labor Code, Defendants did not
  11   provide Plaintiffs and class members with complete and accurate wage
  12   statements.
  13                 Plaintiffs are informed and believe, and thereon allege, that
  14   Defendants knew or should have known that they had a duty to maintain accurate
  15   and complete payroll records in accordance with the Labor Code and applicable
  16   IWC Wage Order, but willfully, knowingly, and intentionally failed to do so.
  17                 Plaintiffs are informed and believe, and thereon allege, that
  18   Defendants knew or should have known that Plaintiffs and class members were
  19   entitled to timely payment of wages upon termination of employment. In
  20   violation of the California Labor Code, Defendants did not pay Plaintiffs and
  21   class members all wages due, including, but not limited to, overtime wages,
  22   minimum wages, and meal and rest period premium wages, and reporting time
  23   pay within permissible time periods.
  24                 Plaintiffs are informed and believe, and thereon allege, that
  25   Defendants knew or should have known that Plaintiffs and class members were
  26   entitled to timely payment of wages during their employment. In violation of the
  27   California Labor Code, Defendants did not pay Plaintiffs and class members all
  28   wages, including, but not limited to, overtime wages, minimum wages, and meal

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   1   and rest period premium wages, and reporting time pay within permissible time
   2   periods.
   3                Plaintiffs are informed and believe, and thereon allege, that
   4   Defendants knew or should have known that Plaintiffs and class members were
   5   entitled to be paid split shift premiums when they returned to work for an
   6   additional shift in the same day, after having been clocked out for more than an
   7   hour. In violation of the California Labor Code, Defendants did not pay
   8   Plaintiffs and class members all split shift premiums due.
   9                Plaintiffs are informed and believe, and thereon allege, that
  10   Defendants knew or should have known that Plaintiffs and class members were
  11   entitled to receive all reporting time pay when Defendants required Plaintiffs and
  12   class members were required to report to work but were put to work for less than
  13   half of their regular scheduled shift. In violation of the California Labor Code,
  14   Plaintiffs and class members were not paid all reporting time pay.
  15                Plaintiffs are informed and believe, and thereon allege, that at all
  16   times herein mentioned, that Defendants knew or should have known that they
  17   had a duty to cover the costs and expenses Plaintiffs and class members incurred
  18   obtaining mandatory pre-employment physical examinations and drug tests, but
  19   willfully, knowingly, and intentionally failed to do so.
  20                Plaintiffs are informed and believe, and thereon allege, that
  21   Defendants knew or should have known that Plaintiffs and class members were
  22   entitled to receive full reimbursement for all business-related expenses and costs
  23   they incurred during the course and scope of their employment, and that they did
  24   not receive full reimbursement of applicable business-related expenses and costs
  25   they incurred.
  26                Plaintiffs are informed and believe, and thereon allege, that at all
  27   times herein mentioned, Defendants knew or should have known that they had a
  28   duty to compensate Plaintiffs and class members for all hours worked, and that

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   1   Defendants had the financial ability to pay such compensation but willfully,
   2   knowingly, and intentionally failed to do so, and falsely represented to Plaintiffs
   3   and class members that they were properly denied wages, all in order to increase
   4   Defendants’ profits.
   5                             FIRST CAUSE OF ACTION
   6      Violation of California Labor Code §§ 510 and 1198—Unpaid Overtime
   7                                (Against all Defendants)
   8                Plaintiffs incorporate by reference and re-allege as if fully stated
   9   herein each allegation set forth above.
  10                Labor Code section 1198 makes it illegal to employ an employee
  11   under conditions of labor that are prohibited by the applicable wage order.
  12   California Labor Code section 1198 requires that “. . . the standard conditions of
  13   labor fixed by the commission shall be the . . . standard conditions of labor for
  14   employees. The employment of any employee . . . under conditions of labor
  15   prohibited by the order is unlawful.”
  16                California Labor Code section 1198 and the applicable IWC Wage
  17   Order provide that it is unlawful to employ persons without compensating them
  18   at a rate of pay either time-and-one-half or two-times that person’s regular rate of
  19   pay, depending on the number of hours worked by the person on a daily or
  20   weekly basis.
  21                Specifically, the applicable IWC Wage Order provides that
  22   Defendants are and were required to pay Plaintiffs and class members working
  23   more than eight (8) hours in a day or more than forty (40) hours in a workweek,
  24   at the rate of time and one-half (1½) for all hours worked in excess of eight (8)
  25   hours in a day or more than forty (40) hours in a workweek.
  26                The applicable IWC Wage Order further provides that Defendants
  27   are and were required to pay Plaintiffs and other class members working more
  28   than twelve (12) hours in a day, overtime compensation at a rate of two (2) times

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   1   their regular rate of pay, and required to pay Plaintiffs and other class members
   2   at a rate of two (2) times their regular rate of pay for hours worked in excess of
   3   eight (8) hours on the seventh (7th) consecutive day of a work in a workweek.
   4   An employee’s regular rate of pay includes all remuneration for employment
   5   paid to, or on behalf of, the employee, including commissions, non-discretionary
   6   bonuses and incentive pay.
   7                California Labor Code section 510 codifies the right to overtime
   8   compensation at one-and-one-half times the regular rate of pay for hours worked
   9   in excess of eight (8) hours in a day or forty (40) hours in a week or for the first
  10   eight (8) hours worked on the seventh day of work, and to overtime
  11   compensation at twice the regular rate of pay for hours worked in excess of
  12   twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh
  13   day of work.
  14                During the relevant time period, Defendants willfully failed to pay
  15   all overtime wages owed to Plaintiffs and other class members. During the
  16   relevant time period, Plaintiffs and other class members were not paid overtime
  17   premiums for all of the hours they worked in excess of eight (8) hours in a day,
  18   in excess of twelve (12) hours in a day, in excess of eight (8) hours on the
  19   seventh (7th) consecutive day of work in a workweek, and/or in excess of forty
  20   (40) hours in a week, because all hours worked were not recorded.
  21                Defendants have a company-wide policy and/or practice of staffing
  22   their medical, rehabilitation and assisted living facilities, strictly based on the
  23   labor hours allotted by each facility’s labor or payroll budget, which has resulted
  24   in and continues to result in chronic understaffing and a lack of break and shift
  25   coverage because there are too few employees on duty to handle the workload.
  26   Upon information and belief, Defendants’ labor budgets do not account for the
  27   provision of adequate meal period coverage for employees and instead result in
  28   chronic understaffing of the facilities and non-compliant meal periods.

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   1                Defendants’ failure to provide adequate meal break coverage for
   2   Plaintiffs and class members such that they could be relieved of their duties to
   3   take all timely, uninterrupted thirty (30) minute meal periods, led to them
   4   working off-the-clock during meal periods to complete their assigned tasks.
   5   Thus, Plaintiffs and class members were not able to take compliant meal
   6   period(s).
   7                For example, Plaintiffs was usually the only custodial employee
   8   scheduled during all or part of his typical shifts, and was required to respond to
   9   urgent matters at all times. Because Defendants failed to schedule additional
  10   staff to relieve Plaintiffs, they were prevented from taking uninterrupted 30-
  11   minute meal periods. This scheduling policy forced Plaintiffs and class members
  12   to take late or interrupted meal breaks, or to miss meal breaks altogether, in order
  13   to complete their job duties.
  14                Defendants further, on a company-wide basis, failed to properly
  15   schedule Plaintiffs and class members for meal periods even though it is aware
  16   and knows that employees are entitled to such meal periods. Upon information
  17   and belief, Defendants failed to schedule meal periods for Plaintiffs and class
  18   members during part of the relevant time period. As a result of Defendants’
  19   failure to schedule meal periods, combined with its understaffing of facilities,
  20   Plaintiffs and class members were not permitted and authorized to take all
  21   uninterrupted 30-minute meal periods during shifts to which they were entitled to
  22   receive a meal period.
  23                Defendants knew or should have known that as a result of its
  24   policies, that Plaintiffs and class members were performing some of their
  25   assigned duties off-the-clock and/or during meal periods and were suffered or
  26   permitted to perform work for which they were not paid. Defendants also knew,
  27   or should have known, that it did not compensate Plaintiffs and other class
  28   members for this off-the-clock work. Because Plaintiffs and class members

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   1   sometimes worked shifts of eight (8) hours a day or more or forty (40) hours a
   2   week or more, some of this off-the-clock work qualified for overtime premium
   3   pay. Therefore, Plaintiffs and class members were not paid overtime wages for
   4   all of the overtime hours they worked.
   5               Defendants’ failure to pay Plaintiffs and class members the balance
   6   of overtime compensation, as required by California law, violates the provisions
   7   of California Labor Code sections 510 and 1198. Pursuant to California Labor
   8   Code section 1194, Plaintiffs and class members are entitled to recover their
   9   unpaid overtime compensation, as well as interest, costs, and attorneys’ fees.
  10                           SECOND CAUSE OF ACTION
  11      Violation of California Labor Code §§ 1182.12, 1194, 1197, 1197.1, and
  12                           1198—Unpaid Minimum Wages
  13                               (Against All Defendants)
  14               Plaintiffs incorporate by reference and re-allege as if fully stated
  15   herein each and every allegation set forth above.
  16               At all relevant times, California Labor Code sections 1182.12, 1194,
  17   1197, 1197.1, and 1198 provide that the minimum wage for employees fixed by
  18   the IWC is the minimum wage to be paid to employees, and the payment of a
  19   wage less than the minimum so fixed is unlawful. Compensable work time is
  20   defined in Wage Order No. 5 as “the time during which an employee is subject to
  21   the control of an employer, and includes all the time the employee is suffered or
  22   permitted to work, whether or not required to do so.” Cal. Code. Regs. tit. 8, §
  23   11050(2)(K) (defining “Hours Worked”).
  24               During the relevant time period, due to Defendants’ company-wide
  25   staffing and scheduling practices and policies, and resultant lack of meal break
  26   coverage, Plaintiffs and class members were forced to forego meal periods
  27   and/or have their meal periods interrupted or delayed by work, in order to assist
  28   medical staff and patients with urgent sanitation needs.

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   1                During the relevant time period, Defendants also maintained and
   2   implemented a company-wide policy of requiring all newly-hired employees
   3   and/or prospective employees to undergo mandatory drug testing as a condition
   4   of employment. At all times, upon information and belief, Defendants were in
   5   control of scheduling the date and time for the drug testing, selecting the
   6   provider or facility where the drug testing was to take place, and determining the
   7   scope of the drug test. Defendants gave Plaintiffs and class members strict
   8   instructions to obtain drug tests as a condition of their employment, and
   9   Plaintiffs and class members underwent drug testing for the sole benefit of
  10   Defendants. However, Defendants did not compensate Plaintiffs and class
  11   members for the time they spent traveling to and from drug testing clinics or for
  12   the time they spent undergoing drug testing. For example, Plaintiff Kirby spent
  13   five hours traveling to the designated drug testing facility and undergoing a drug
  14   test. Plaintiff Kirby does not have a car, so he traveled on foot and by bus, and
  15   because the facility was busy when he arrived, he had to wait to be tested.
  16   Defendants did not compensate Plaintiff Kirby for this time.
  17                Thus, Defendants did not pay at least minimum wages for all hours
  18   worked by Plaintiffs and class members.
  19                Defendants’ failure to pay Plaintiffs and class members minimum
  20   wages for all hours worked violates California Labor Code sections 1182.12,
  21   1194, 1197, 1197.1, and 1198. Pursuant to California Labor Code section
  22   1194.2, Plaintiffs and class members are entitled to recover liquidated damages
  23   in an amount equal to the wages unlawfully unpaid and interest thereon.
  24                            THIRD CAUSE OF ACTION
  25      Violations of California Labor Code, §§ 226.7, 512(a), and 1198—Meal
  26                                   Period Violations
  27                                (Against all Defendants)
  28                Plaintiffs incorporate by reference and re-allege as if fully stated

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   1   herein each and every allegation set forth above.
   2                At all relevant times herein set forth, California Labor Code section
   3   512(a) provides that an employer may not require, cause, or permit an employee
   4   to work for a period of more than five (5) hours per day without providing the
   5   employee with a meal period of not less than thirty (30) minutes, except that if
   6   the total work period per day of the employee is not more than six (6) hours, the
   7   meal period may be waived by mutual consent of both the employer and the
   8   employee. Under California law, first meal periods must start after no more than
   9   five (5) hours. Brinker Rest. Corp. v. Superior Court, 53 Cal. 4th 1004, 1041-
  10   1042 (Cal. 2012).
  11                At all relevant times herein set forth, California Labor Code section
  12   226.7, 512(a), and 1198 provide that no employer shall require an employee to
  13   work during any meal period mandated by an applicable order of the IWC.
  14                At all relevant times herein set forth, Labor Code sections 226.7,
  15   512(a), 1198, and the applicable IWC Wage Order also require employers to
  16   provide a second meal break of not less than thirty (30) minutes if an employee
  17   works over ten (10) hours per day or to pay an employee one (1) additional hour
  18   of pay at the employee’s regular rate, except that if the total hours worked is no
  19   more than twelve (12) hours, the second meal period may be waived by mutual
  20   consent of the employer and the employee only if the first meal period was not
  21   waived.
  22                During the relevant time period, on information and belief,
  23   Defendants automatically clocked out Plaintiffs and class members for 30
  24   minutes for meal periods even when meal periods were missed, short, and/or
  25   interrupted. As a result, 30-minute meal periods were deducted from Plaintiffs’
  26   and class members’ time records for hours they actually spent working and
  27   Plaintiffs and class members were not relieved of their duties.
  28                In the alternative, on information and belief, Defendants manually

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   1   adjusted employee wage records in order to make it appear that Plaintiffs and
   2   class members received compliant meal breaks when in fact, they did not.
   3                Additionally, as mentioned above, Defendants’ company-wide
   4   failure to provide adequate meal break coverage prevented Plaintiffs and class
   5   members from taking compliant meal periods. As a result of these practices
   6   and/or policies, Plaintiffs and class members were frequently required to
   7   continue to perform their duties, such as cleaning patient rooms and attending to
   8   urgent requests, without being able to take timely, compliant meal periods.
   9   Further, on information and belief, Plaintiffs and class members did not sign
  10   valid meal break waivers on days that they were entitled to meal periods and
  11   were not relieved of all duties.
  12                At all times herein mentioned, Defendants knew or should have
  13   known that as a result of these policies, Plaintiffs and class members were
  14   prevented from being relieved of all duties and required to perform some of their
  15   assigned duties during meal periods. Defendants further knew, or should have
  16   known, that Defendants did not pay Plaintiffs and class members for all meal
  17   period premium wages when they were interrupted. As a result, Plaintiffs and
  18   class members had to work through part or all of their meal periods, have their
  19   meal periods interrupted, and/or wait extended periods of time before taking
  20   meal periods.
  21                For example, Plaintiffs and class members were frequently made to
  22   work over five (5) hours straight before Defendants permitted and authorized
  23   them to take their meal periods. Plaintiffs suffered frequent late meal periods,
  24   often not receiving a meal period until after working six (6) hours or more.
  25   Plaintiffs sometimes missed meal periods entirely. Plaintiff Kirby’s meal periods
  26   were interrupted 3-4 times per week with urgent cleaning requests announced
  27   over the hospital’s public address system.
  28                Moreover, upon information and belief, Defendants engaged in a

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   1   systematic, company-wide policy to not pay meal period premiums for Plaintiffs
   2   and class members, regardless of whether they were able to take a compliant
   3   meal break, in violation of the applicable IWC Wage Order and Labor Code
   4   sections 226.7 and 512(a). As a result, Defendants failed to provide Plaintiffs
   5   and class members compliant meal periods in violation of California Labor Code
   6   sections 226.7 and 512 and failed to pay all meal period premiums due.
   7                Defendants’ conduct violates the applicable IWC Wage Orders and
   8   Labor Code sections 512(a), 226.7, and 1198. Plaintiffs and class members are
   9   therefore entitled to recover from Defendants one (1) additional hour of pay at
  10   the employee’s regular rate of compensation for each work day that a compliant
  11   meal period was not provided.
  12                           FOURTH CAUSE OF ACTION
  13        Violation of California Labor Code §§ 226.7 and 1198—Rest Break
  14                                        Violations
  15                                (Against all Defendants)
  16                Plaintiffs incorporate by reference and re-allege as if fully stated
  17   herein each and every allegation set forth above.
  18                At all relevant times, the applicable IWC Wage Order and
  19   California Labor Code sections 226.7 and 1198 were applicable to Plaintiffs and
  20   class members employed by Defendants.
  21                At all relevant times, the applicable IWC Wage Order provides that
  22   “[e]very employer shall authorize and permit all employees to take rest periods,
  23   which insofar as practicable shall be in the middle of each work period” and that
  24   the “rest period time shall be based on the total hours worked daily at the rate of
  25   ten (10) minutes net rest time per four (4) hours or major fraction thereof” unless
  26   the total daily work time is less than three and one-half (3½) hours.
  27                At all relevant times, California Labor Code section 226.7 provides
  28   that no employer shall require an employee to work during any rest period

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   1   mandated by an applicable order of the California IWC. To comply with its
   2   obligation to provide rest periods under California Labor Code section 226.7 and
   3   the applicable IWC Wage Order, an employer must “relinquish any control over
   4   how employees spend their break time, and relieve their employees of all duties
   5   –– including the obligation that an employee remain on call. A rest period, in
   6   short, must be a period of rest.” Augustus v. ABM Security Services, Inc., 2 Cal.
   7   5th 257, 269-270 (2016).
   8               Pursuant to the applicable IWC Wage Order and California Labor
   9   Code section 226.7(b), Plaintiffs and class members were entitled to recover
  10   from Defendants one (1) additional hour of pay at their regular rates of pay for
  11   each work day that a required rest period was not provided.
  12               At all relevant times, Defendants’ scheduling policies and practices,
  13   or lack thereof, prevented Plaintiffs and class members from being relieved of all
  14   duty in order to take compliant rest periods. Defendants failed to schedule rest
  15   periods for Plaintiffs and class members on a company-wide basis. As a result,
  16   Plaintiffs would work shifts in excess of 3.5 hours and in excess of 6 hours
  17   without receiving all uninterrupted ten (10) minute rest periods to which they
  18   were entitled. Plaintiffs and class members also worked shifts in excess of 3.5
  19   hours or 6 hours without receiving all uninterrupted ten (10) minute rest periods
  20   to which they were entitled.
  21               As with meal breaks, Plaintiff Kirby’s rest breaks were frequently
  22   interrupted and/or cut short by urgent requests for cleaning announced over the
  23   hospital’s public address system.
  24               Defendants have also engaged in a systematic, company-wide
  25   practice and/or policy of not paying rest period premiums owed when rest
  26   periods are not provided. Because of this practice and/or policy, Plaintiffs and
  27   class members have not received premium pay for missed rest periods. Thus,
  28   Defendants denied Plaintiffs and class members rest periods and failed to pay

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   1   them rest period premium wages due, in violation of Labor Code section 226.7
   2   and the applicable IWC Wage Order.
   3                Defendants’ conduct violates the applicable IWC Wage Orders and
   4   California Labor Code section 226.7 and 1198. Plaintiffs and class members are
   5   therefore entitled to recover from Defendants one (1) additional hour of pay at
   6   the employee’s regular rate of compensation for each work day that the rest
   7   period was not provided.
   8                                 FIFTH CAUSE OF ACTION
   9            Violation of California Labor Code §§ 226(a), 1174(d), and 1198 –
  10    Non-Compliant Wage Statements and Failure to Maintain Accurate Payroll
  11                                          Records
  12                                    (Against all Defendants)
  13                Plaintiffs incorporate by reference and re-allege as if fully stated
  14   herein each and every allegation set forth above.
  15                At all relevant times herein set forth, California Labor Code section
  16   226(a) provides that every employer shall furnish each of his or her employees
  17   an accurate and complete itemized wage statement in writing, including, but not
  18   limited to, the name and address of the legal entity that is the employer, the
  19   inclusive dates of the pay period, total hours worked, and all applicable rates of
  20   pay.
  21                At all relevant times herein set forth, Defendants have
  22   systematically provided Plaintiffs and class members with uniform, incomplete,
  23   and inaccurate wage statements.
  24                Defendants issued uniform wage statements to Plaintiffs and
  25   Subclass members that fail to list the correct name and/or address of the legal
  26   entity that is the employer, in violation of section 226(a)(8). For example,
  27   according to Plaintiff Kirby’s paystubs, the legal name of the employing entity is
  28   “KND Development 52, LLC,” and the address for the employing entity is listed

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   1   as “680 South Fourth Street, Louisville, KY 40202.” However, there is no such
   2   entity registered with the California Secretary of State. There is another
   3   similarly-named entity listed with the California Secretary of State, named
   4   “KND 52, L.L.C.” with the address “680 S Fourth Street, Louisville, KY
   5   40202.” Upon information and belief, this is the true name of the employing
   6   entity.
   7                Adding further confusion, all of Plaintiffs’ employment paperwork
   8   lists “Kindred Healthcare” as the employer. Upon information and belief, the
   9   legal name of the operating entity is Kindred Healthcare Operating, L.L.C.
  10   Kindred Healthcare’s website lists its headquarters as 680 South Fourth Street,
  11   Louisville, KY 40202. Each of the Defendants are all registered with the
  12   California Secretary of State and have the same 680 South Fourth Street,
  13   Louisville, KY 40202 address.
  14                The wage statement deficiencies also include, without limitation,
  15   failing to list gross wages earned; failing to list total hours worked by
  16   employees; failing to list all applicable hourly rates in effect during the pay
  17   period and the corresponding number of hours worked at each hourly rate;
  18   failing to list the number of piece-rate units earned and any applicable piece rate
  19   if the employee is paid on a piece-rate basis; failing to list all deductions; failing
  20   to list the address of the legal entity that is the employer; failing to list net wages
  21   earned; failing to list the inclusive dates of the period for which the employee is
  22   paid; failing to list the name of the employee and only the last four digits of his
  23   or her social security number or an employee identification number other than a
  24   social security number; and/or failing to state all hours worked as a result of not
  25   recording or stating the hours they worked off-the-clock.
  26                California Labor Code section 1198 provides that the maximum
  27   hours of work and the standard conditions of labor shall be those fixed by the
  28   Labor Commissioner and as set forth in the applicable IWC Wage Orders.

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   1   Section 1198 further provides that “[t]he employment of any employees for
   2   longer hours than those fixed by the order or under conditions of labor prohibited
   3   by the order is unlawful.” Pursuant to the applicable IWC Wage Order,
   4   employers are required to keep accurate time records showing when the
   5   employee begins and ends each work period and meal period. During the
   6   relevant time period, Defendants failed, on a company-wide basis, to keep
   7   accurate records of meal period start and stop times for Plaintiffs and class
   8   members in violation of section 1198. Defendants engaged in a practice of
   9   recording a 30-minute period for employees for first meal periods regardless of
  10   whether employees actually took a timely, compliant break.
  11                California Labor Code section 1174(d) provides that “[e]very person
  12   employing labor in this state shall … [k]eep a record showing the names and
  13   addresses of all employees employed and the ages of all minors” and “[keep, at a
  14   central location in the state or at the plants or establishments at which employees
  15   are employed, payroll records showing the hours worked daily by and the wages
  16   paid to, and the number of piece-rate units earned by and any applicable piece
  17   rate paid to, employees employed at the respective plants or establishments…”
  18   During the relevant time period, and in violation of Labor Code section 1174(d),
  19   Defendants willfully failed to maintain accurate payroll records for Plaintiffs and
  20   class members showing the daily hours they worked and the wages paid thereto
  21   as a result of failing to record the off-the-clock hours that they worked.
  22                Because Defendants failed to provide the accurate number of total
  23   hours worked on wage statements, Plaintiffs and class members have been
  24   prevented from verifying, solely from information on the wage statements
  25   themselves, that they were paid correctly and in full. Instead, Plaintiffs and class
  26   members have had to look to sources outside of the wage statements themselves
  27   and reconstruct time records to determine whether in fact they were paid
  28   correctly and the extent of underpayment, thereby causing them injury.

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   1                Plaintiffs and class members are entitled to recover from Defendants
   2   the greater of their actual damages caused by Defendants’ failure to comply with
   3   California Labor Code section 226(a), or an aggregate penalty not exceeding four
   4   thousand dollars ($4,000) per employee.
   5                             SIXTH CAUSE OF ACTION
   6       Violation of California Labor Code §§ 201, 202, and 203 – Wages Not
   7                           Timely Paid Upon Termination
   8                                (Against all Defendants)
   9                Plaintiffs incorporate by reference and re-allege as if fully stated
  10   herein each and every allegation set forth above.
  11                At all times relevant herein set forth, Labor Code sections 201 and
  12   202 provide that if an employer discharges an employee, the wages earned and
  13   unpaid at the time of discharge are due and payable immediately, and that if an
  14   employee voluntarily leaves his or her employment, his or her wages shall
  15   become due and payable not later than seventy-two (72) hours thereafter, unless
  16   the employee has given seventy-two (72) hours previous notice of his or her
  17   intention to quit, in which case the employee is entitled to his or her wages at the
  18   time of quitting.
  19                During the relevant time period, Defendants willfully failed to pay
  20   Plaintiffs and class members who are no longer employed by Defendants the
  21   earned and unpaid wages set forth above, including but not limited to, overtime
  22   wages, minimum wages, meal and rest period premium wages, and reporting
  23   time pay either at the time of discharge, or within seventy-two (72) hours of their
  24   leaving Defendants’ employ. On information and belief, Defendants have a
  25   company-wide practice and/or policy of paying departing employees their final
  26   wages on the next regular pay cycle, instead of adhering to the time requirements
  27   set forth in Labor Code sections 201 and 202.
  28                Defendants’ failure to pay Plaintiffs and those class members who

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   1   are no longer employed by Defendants their wages earned and unpaid at the time
   2   of discharge, or within seventy-two (72) hours of their leaving Defendants’
   3   employ, violates Labor Code sections 201 and 202. Plaintiffs and class members
   4   are therefore entitled to recover from Defendants the statutory penalty wages for
   5   each day they were not paid, at their regular rate of pay, up to a thirty (30) day
   6   maximum pursuant to California Labor Code section 203.
   7                           SEVENTH CAUSE OF ACTION
   8      Violation of California Labor Code § 1198 – Failure to Compensate for
   9                                       Split-Shifts
  10                                (Against all Defendants)
  11                Plaintiffs incorporate by reference and re-allege as if fully stated
  12   herein each and every allegation set forth above.
  13                California Labor Code section 1198 provides that no employer may
  14   employ an employee under conditions of labor that are prohibited by the
  15   applicable IWC wage order. California Labor Code section 1198 further requires
  16   that “. . . the standard conditions of labor fixed by the commission shall be the . .
  17   . standard conditions of labor for employees. The employment of any employee .
  18   . . under conditions of labor prohibited by the order is unlawful.”
  19                California Code of Regulations, Title 8, section 11050(4)(C)
  20   provides that “When an employee works a split shift, one (1) hour’s pay at the
  21   minimum wage shall be paid in addition to the minimum wage for that workday,
  22   except when the employee resides at the place of employment.” California Code
  23   of Regulations, Title 8, defines a split shift as “a work schedule, which is
  24   interrupted by non-paid non-working periods established by the employer, other
  25   than bona fide rest or meal periods.”
  26                Defendants violated California Labor Code section 1198 and
  27   California Code of Regulations, Title 8, section 11050(4)(C), because
  28   Defendants failed to pay Plaintiffs and class members a split-shift premium when

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   1   they returned to work for an additional shift in the same day, after having been
   2   clocked out for more than an hour.
   3               Defendants sometimes scheduled Plaintiff Kirby to work double-
   4   shifts that were separated by more than one (1) hour of time, but failed to pay
   5   him one (1) hour’s pay at the minimum wage in addition to the minimum wage
   6   for that workday. Upon information and belief, other class members also worked
   7   double shifts separated by more than one (1) hour of time without receiving one
   8   additional hour at minimum wage from Defendants for working a split-shift.
   9   Accordingly, Defendants required Plaintiffs and class members to work split
  10   shifts but failed to pay them an additional hour at minimum wage in violation of
  11   California Labor Code section 1198.
  12               Defendants’ failure to compensate Plaintiffs and class members with
  13   split-shift pay when they returned to work for an additional shift in the same day,
  14   after having been clocked out for more than an hour, violates California Labor
  15   Code section 1198 and California Code of Regulations Title 8, Section
  16   11050(4)(C). Pursuant to the applicable IWC Wage Order, Plaintiffs and class
  17   members are entitled to recover from Defendants one (1) additional hour of pay
  18   at minimum wage for each work day that they worked a split shift.
  19                           EIGHTH CAUSE OF ACTION
  20      Violation of California Business & Professions Code § 1198 – Failure to
  21                             Provide Reporting Time Pay
  22                               (Against all Defendants)
  23               Plaintiffs incorporate by reference and re-allege as if fully stated
  24   herein each and every allegation set forth above.
  25               California Labor Code section 1198 makes it illegal to employ an
  26   employee under conditions of labor that are prohibited by the applicable wage
  27   order. California Labor Code section 1198 requires that “. . . the standard
  28   conditions of labor fixed by the commission shall be the . . . standard conditions

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   1   of labor for employees. The employment of any employee . . . under conditions
   2   of labor prohibited by the order is unlawful.”
   3                The applicable wage order, California Code of Regulations, Title 8,
   4   section 11050(5)(A) provides that “[e]ach workday an employee is required to
   5   report for work and does report, but is not put to work or is furnished less than
   6   half said employee’s usual or scheduled day’s work, the employee shall be paid
   7   for half the usual or scheduled day’s work, but in no event for less than two (2)
   8   hours nor more than four (4) hours, at the employee’s regular rate of pay, which
   9   shall not be less than the minimum wage.”
  10                Defendants violated California Labor Code section 1198 and
  11   California Code of Regulations, Title 8, section 11050(5) because Defendants
  12   failed to pay Plaintiffs and other class members reporting time pay when they
  13   reported for work and were immediately dismissed or put to work for less than
  14   half their usual or scheduled day’s work.
  15                For instance, Plaintiffs and class members would report to work
  16   based on the schedule Defendants provided to them but would immediately be
  17   sent home because Defendants would alter the schedule without informing
  18   Plaintiffs and class members. When this occurred, Defendants did not pay
  19   Plaintiffs and class members for at least half of their scheduled day’s work.
  20                Accordingly, Plaintiffs and class members were not properly
  21   compensated with reporting time pay in violation of California Labor Code
  22   section 1198.
  23                            NINTH CAUSE OF ACTION
  24       Violation of California Labor Code § 2802 – Unpaid Business-Related
  25                                        Expenses
  26                                (Against all Defendants)
  27                Plaintiffs incorporate by reference and re-allege as if fully stated
  28   herein each and every allegation set forth above.

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   1                At all times herein set forth, California Labor Code section 2802
   2   provides that an employer must reimburse employees for all necessary
   3   expenditures and losses incurred by the employee in the performance of his or
   4   her job. The purpose of Labor Code section 2802 is to prevent employers from
   5   passing off their cost of doing business and operating expenses on to their
   6   employees. Cochran v. Schwan’s Home Service, Inc., 228 Cal. App. 4th 1137,
   7   1144 (2014).
   8                During the relevant time period, Plaintiffs and class members
   9   incurred necessary business-related expenses and costs that were not fully
  10   reimbursed by Defendants. Defendants, on a company-wide basis, required that
  11   Plaintiffs and class members utilize their own personal cell phones and/or cell
  12   phone data to carry out their job duties, but Defendants failed to reimburse them
  13   for the costs of their cell phone plans and/or data plans. For example, Plaintiff
  14   Kirby was required to use his personal cellular phone in order to carry out his
  15   work responsibilities, such as communicating with his supervisor to report linen
  16   or supply shortages. Although Defendants required Plaintiff Kirby to regularly
  17   utilize his personal cellular phone to carry out work-related responsibilities,
  18   Defendants failed to reimburse him for this cost.
  19                Additionally, as mentioned, Defendants required Plaintiffs and class
  20   members to travel to designated clinics to undergo drug testing at or near their
  21   time of hire, and did not reimburse them for their travel expenses. Defendants
  22   engaged in a systematic, company-wide policy not to reimburse Plaintiffs and
  23   class members for these travel expenses.
  24                Defendants could have provided Plaintiffs and class members with
  25   the actual tools for use on the job, including company phones, reimbursed
  26   employees for their cell phone usage and gas expenses, and/or provided company
  27   vehicles to be used for fulfilling work-related tasks, such as for obtaining
  28   mandatory drug testing. Instead, Defendants passed these costs off on to

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   1   Plaintiffs and class members. Defendants have, and continue to have, a
   2   company-wide policy and/or practice of not reimbursing employees for expenses
   3   necessarily incurred.
   4                Defendants’ company-wide policy and/or practice of passing on its
   5   operating costs to Plaintiffs and class members by requiring that they use their
   6   own personal cellular phones for work and failing to reimburse all travel
   7   expenses violates California Labor Code section 2802. Defendants have
   8   intentionally and willfully failed to fully reimburse Plaintiffs and other class
   9   members for necessary business-related expenses and costs.
  10                Plaintiffs and class members are entitled to recover from Defendants
  11    their business-related expenses incurred during the course and scope of their
  12    employment, plus interest.
  13                            TENTH CAUSE OF ACTION
  14      Violation of California Business & Professions Code §§ 17200, et seq. –
  15                              Unlawful Business Practices
  16                                 (Against all Defendants)
  17                Plaintiffs incorporate by reference and re-allege as if fully stated
  18   herein each and every allegation set forth above.
  19                Defendants are a “person” as defined by California Business &
  20   Professions Code sections 17201, as they are corporations, firms, partnerships,
  21   joint stock companies and/or associations.
  22                Defendants’ conduct, as alleged herein, has been, and continues to
  23   be, unfair, unlawful and harmful to Plaintiffs, class members, and to the general
  24   public. Plaintiffs have suffered injury in fact and have lost money as a result of
  25   Defendants’ unlawful business practices. Plaintiffs seek to enforce important
  26   rights affecting the public interest within the meaning of Code of Civil Procedure
  27   section 1021.5.
  28                Defendants’ activities, as alleged herein, are violations of California

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   1   law, and constitute unlawful business acts and practices in violation of California
   2   Business & Professions Code sections 17200, et seq.
   3                A violation of California Business & Professions Code sections
   4   17200, et seq. may be predicated on the violation of any state or federal law. In
   5   the instant case, Defendants’ policies and practices have violated state law in at
   6   least the following respects:
   7                (a)   Requiring non-exempt employees, including Plaintiffs and
   8                      class members, to work overtime without paying them proper
   9                      compensation in violation of California Labor Code sections
  10                      510 and 1198 and the applicable IWC Order, as alleged
  11                      herein;
  12                (b)   Failing to pay at least minimum wage to Plaintiffs and class
  13                      members in violation of California Labor Code sections
  14                      1182.12, 1194, 1197, 1197.1, and 1198 and the applicable
  15                      IWC Order, as alleged herein;
  16                (c)   Failing to provide uninterrupted meal and rest periods to
  17                      Plaintiffs and class members in violation of California Labor
  18                      Code sections 226.7, 512(a), 1198, and the applicable IWC
  19                      Order, as alleged herein;
  20                (d)   Failing to provide Plaintiffs and class members with accurate
  21                      wage statements and failing to maintain accurate payroll
  22                      records in violation of California Labor Code sections 226(a),
  23                      1174(d), 1198, and the applicable IWC Order, as alleged
  24                      herein;
  25                (e)   Failing timely to pay all earned wages to Plaintiffs and class
  26                      members in violation of California Labor Code section 204
  27                      and the applicable IWC Order, as set forth below;
  28                (f)   Failing to pay Plaintiffs and class members one hour of

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   1                      minimum wage when they were required to work split shifts
   2                      in violation of California Labor Code section 1198, and the
   3                      applicable IWC Order, as alleged herein;
   4                (g)   Failing to pay reporting time pay in violation of California
   5                      Labor Code section 1198 and the applicable Industrial
   6                      Welfare Commission Order, as alleged herein;
   7                (h)   Failing to pay the costs of mandatory pre-employment
   8                      physical examinations and drug testing in violation of
   9                      California Labor Code section 222.5, as set forth below; and
  10                (i)   Failing to reimburse Plaintiffs and class members for all
  11                      business expenses necessarily incurred in violation of
  12                      California Labor Code section 2802, as alleged herein.
  13                At all times relevant herein, Labor Code section 204 provides that
  14   all wages earned by any person in any employment between the first (1st) and
  15   the fifteenth (15th) days, inclusive, of any calendar month, other than those
  16   wages due upon termination of an employee, are due and payable between the
  17   sixteenth (16th) and the twenty-sixth (26th) day of the month during which the
  18   labor was performed.
  19                At all times relevant herein, Labor Code section 204 provides that
  20   all wages earned by any person in any employment between the sixteenth (16th)
  21   and the last day, inclusive, of any calendar month, other than those wages due
  22   upon termination of an employee, are due and payable between the first (1st) and
  23   the tenth (10th) day of the following month.
  24                At all times relevant herein, Labor Code section 204 provides that
  25   all wages earned for labor in excess of the normal work period shall be paid no
  26   later than the payday for the next regular payroll period. Alternatively, at all
  27   times relevant herein, Labor Code section 204 provides that the requirements of
  28   this section are deemed satisfied by the payment of wages for weekly, biweekly,

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   1   or semimonthly payroll if the wages are paid not more than seven (7) calendar
   2   days following the close of the payroll period.
   3                  During the relevant time period, Defendants willfully failed to pay
   4   Plaintiffs and class members all wages due including, but not limited to,
   5   overtime wages, minimum wages, and meal and rest period premium wages, and
   6   reporting time pay within the time periods specified by California Labor Code
   7   section 204.
   8                  At all relevant times herein, California Labor Code section 222.5
   9   requires employers to pay for the costs a prospective employee incurs for
  10   obtaining any pre-employment medical or physical examination taken as a
  11   condition of employment.
  12                  During the relevant time period, Defendants required that Plaintiffs
  13   and class members undergo a mandatory drug test as a condition of employment,
  14   but required them to do so at their own expense. As stated, upon information
  15   and belief, Defendants had a company-wide policy requiring that all pre-hires,
  16   including Plaintiffs and class members, travel to a medical clinic on their own
  17   time and using their own means of transportation to undergo drug testing and/or
  18   physical examinations. At all times, upon information and belief, Defendants
  19   were in control of scheduling the date and time for the drug testing, selecting the
  20   provider/facility where the drug testing was to take place, and determining the
  21   scope of the physical examination and drug test. However, Defendants did not
  22   compensate Plaintiffs and class members for the time they spent traveling to and
  23   from drug testing, for the time they spent undergoing drug testing or for the
  24   travel expenses they incurred getting to and from the medical clinic.
  25                  As stated, Plaintiff Kirby spent five hours traveling to and
  26   undergoing the required drug test. However, Defendants did not compensate
  27   Plaintiff Kirby for this time or reimburse him for his travel expenses to and from
  28   the clinic.

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   1                As a result of the violations of California law herein described,
   2   Defendants unlawfully gained an unfair advantage over other businesses.
   3   Plaintiffs and class members have suffered pecuniary loss by Defendants’
   4   unlawful business acts and practices alleged herein.
   5                Pursuant to California Business & Professions Code sections 17200
   6   et seq., Plaintiffs and class members are entitled to restitution of the wages
   7   withheld and retained by Defendants during a period that commences four years
   8   prior to the filing of this complaint; a permanent injunction requiring Defendants
   9   to pay all outstanding wages due to Plaintiffs and class members; and an award
  10   of attorneys’ fees pursuant to California Code of Civil Procedure section 1021.5
  11   and other applicable laws; and an award of costs.
  12                         ELEVENTH CAUSE OF ACTION
  13      Violation of California Business & Professions Code §§ 17200, et seq. –
  14                               Unfair Business Practices
  15                                (Against all Defendants)
  16                Plaintiffs incorporate by reference and re-allege as if fully stated
  17   herein each and every allegation set forth above.
  18                Defendants are a “person” as defined by California Business &
  19   Professions Code sections 17201, as they are corporations, firms, partnerships,
  20   joint stock companies, and/or associations.
  21                Defendants’ conduct, as alleged herein, has been, and continues to
  22   be, unfair, and harmful to Plaintiffs, class members, and to the general public.
  23   Plaintiffs have suffered injury in fact and have lost money as a result of
  24   Defendants’ unfair business practices. Plaintiffs seek to enforce important rights
  25   affecting the public interest within the meaning of Code of Civil Procedure
  26   section 1021.5.
  27                Defendants’ activities, namely Defendants’ company-wide practice
  28   and/or policy of not paying Plaintiffs and class members all meal and rest period

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   1   premium wages due to them under Labor Code section 226.7, deprived Plaintiffs
   2   and class members of the compensation guarantee and enhanced enforcement
   3   implemented by section 226.7. The statutory remedy provided by section 226.7
   4   is a “‘dual-purpose’ remedy intended primarily to compensate employees, and
   5   secondarily to shape employer conduct. Safeway, Inc. v. Superior Court, 238
   6   Cal. App. 4th 1138, 1149 (2015). The statutory benefits of section 226.7 were
   7   guaranteed to Plaintiffs and class members as part of their employment with
   8   Defendants, and thus Defendants’ practice and/or policy of denying these
   9   statutory benefits constitutes an unfair business practice in violation of California
  10   Business & Professions Code sections 17200, et seq. (Id.)
  11                 A violation of California Business & Professions Code sections
  12   17200, et seq. may be predicated on any unfair business practice. In the instant
  13   case, Defendants’ policies and practices have violated the spirit of California’s
  14   meal and rest break laws and constitute acts against the public policy behind
  15   these laws.
  16                 Pursuant to California Business & Professions Code sections 17200
  17   et seq., Plaintiffs and class members are entitled to restitution for the class-wide
  18   loss of the statutory benefits implemented by section 226.7 withheld and retained
  19   by Defendants during a period that commences four years prior to the filing of
  20   this complaint; a permanent injunction requiring Defendants to pay all statutory
  21   benefits implemented by section 226.7 due to Plaintiffs and class members; an
  22   award of attorneys’ fees pursuant to California Code of Civil Procedure section
  23   1021.5 and other applicable laws; and an award of costs.
  24                            REQUEST FOR JURY TRIAL
  25         Plaintiffs request a trial by jury.
  26                                PRAYER FOR RELIEF
  27         Plaintiffs, on behalf of themselves and all others similarly situated, pray
  28   for relief and judgment against Defendants, jointly and severally, as follows:

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   1                For damages, unpaid wages, penalties, injunctive relief, and
   2   attorneys’ fees in excess of twenty-five thousand dollars ($25,000), exclusive of
   3   interest and costs. Plaintiffs reserve the right to amend his prayer for relief to
   4   seek a different amount.
   5                                    Class Certification
   6                That this case be certified as a class action;
   7                That Plaintiffs be appointed as representatives of the Class;
   8                That counsel for Plaintiffs be appointed as class counsel.
   9                              As to the First Cause of Action
  10                That the Court declare, adjudge, and decree that Defendants violated
  11   California Labor Code sections 510 and 1198 and applicable IWC Wage Orders
  12   by willfully failing to pay all overtime wages due to Plaintiffs and class
  13   members;
  14                For general unpaid wages at overtime wage rates and such general
  15   and special damages as may be appropriate;
  16                For pre-judgment interest on any unpaid overtime compensation
  17   commencing from the date such amounts were due, or as otherwise provided by
  18   law;
  19                For reasonable attorneys’ fees and for costs of suit incurred herein
  20   pursuant to California Labor Code section 1194(a); and
  21                For such other and further relief as the Court may deem equitable
  22   and appropriate.
  23                           As to the Second Cause of Action
  24                That the Court declare, adjudge and decree that Defendants violated
  25   California Labor Code sections 1182.12, 1194, 1197, 1197.1, and 1198 by
  26   willfully failing to pay minimum wages to Plaintiffs and class members;
  27                For general unpaid wages and such general and special damages as
  28   may be appropriate;

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   1                 For pre-judgment interest on any unpaid compensation from the date
   2   such amounts were due, or as otherwise provided by law;
   3                 For reasonable attorneys’ fees and for costs of suit incurred herein
   4   pursuant to California Labor Code section 1194(a);
   5                 For liquidated damages pursuant to California Labor Code section
   6   1194.2; and
   7                 For such other and further relief as the Court may deem equitable
   8   and appropriate.
   9                            As to the Third Cause of Action
  10                 That the Court declare, adjudge, and decree that Defendants violated
  11   California Labor Code sections 226.7, 512(a), and 1198 and applicable IWC
  12   Wage Order(s) by willfully failing to provide all meal periods to Plaintiffs and
  13   class members;
  14                 That the Court make an award to the Plaintiffs and class members of
  15   one (1) hour of pay at each employee’s regular rate of pay for each workday that
  16   a meal period was not provided;
  17                 For all actual, consequential, and incidental losses and damages,
  18   according to proof;
  19                 For premiums pursuant to California Labor Code section 226.7(b);
  20                 For pre-judgment interest on any unpaid meal period premiums
  21   from the date such amounts were due, or as otherwise provided by law; and
  22                 For such other and further relief as the Court may deem equitable
  23   and appropriate.
  24                           As to the Fourth Cause of Action
  25                 That the Court declare, adjudge and decree that Defendants violated
  26   California Labor Code sections 226.7 and 1198 and applicable IWC Wage
  27   Orders by willfully failing to provide all rest periods to Plaintiffs and class
  28   members;

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   1                 That the Court make an award to the Plaintiffs and class members of
   2   one (l) hour of pay at each employee’s regular rate of pay for each workday that
   3   a rest period was not provided;
   4                 For all actual, consequential, and incidental losses and damages,
   5   according to proof;
   6                 For premiums pursuant to California Labor Code section 226.7(b);
   7                 For pre-judgment interest on any unpaid rest period premiums from
   8   the date such amounts were due, or as otherwise provided by law; and
   9                 For such other and further relief as the Court may deem equitable
  10   and appropriate.
  11                            As to the Fifth Cause of Action
  12                 That the Court declare, adjudge and decree that Defendants violated
  13   the recordkeeping provisions of California Labor Code section 226(a) and
  14   applicable IWC Wage Orders as to Plaintiffs and class members, and willfully
  15   failed to provide accurate itemized wage statements thereto;
  16                 For all actual, consequential and incidental losses and damages,
  17   according to proof;
  18                 For injunctive relief pursuant to California Labor Code section
  19   226(h);
  20                 For statutory penalties pursuant to California Labor Code section
  21   226(e); and
  22                 For such other and further relief as the Court may deem equitable
  23   and appropriate.
  24                            As to the Sixth Cause of Action
  25                 That the Court declare, adjudge and decree that Defendants violated
  26   California Labor Code sections 201, 202, and 203 by willfully failing to pay
  27   overtime wages, minimum wages, and meal and rest period premiums, and
  28   reporting time pay owed at the time of termination of the employment of

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   1   Plaintiffs and other terminated class members;
   2               For all actual, consequential and incidental losses and damages,
   3   according to proof;
   4               For waiting time penalties according to proof pursuant to California
   5   Labor Code section 203 for all employees who have left Defendants’ employ;
   6               For pre-judgment interest on any unpaid wages from the date such
   7   amounts were due, or as otherwise provided by law; and
   8               For such other and further relief as the Court may deem equitable
   9   and appropriate.
  10                          As to the Seventh Cause of Action
  11               That the Court declare, adjudge and decree that Defendants violated
  12   California Labor Code section 1198 by willfully failing to pay split shift
  13   premiums to Plaintiffs and class members when they returned to work for an
  14   additional shift in the same day, after having been clocked out for more than an
  15   hour;
  16               For all actual, consequential and incidental losses and damages,
  17   according to proof;
  18               For pre-judgment interest on any unpaid wages from the date such
  19   amounts were due, or as otherwise provided by law; and
  20               For such other and further relief as the Court may deem equitable
  21   and appropriate.
  22                          As to the Eighth Cause of Action
  23               That the Court declare, adjudge and decree that Defendants violated
  24   California Labor Code section 1198 and California Code of Regulations, Title 8,
  25   section 11050(5)(A) by failing to provide Plaintiffs and class members with
  26   reporting time pay;
  27               For all actual, consequential and incidental losses and damages,
  28   according to proof;

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   1                For pre-judgment interest on any unpaid wages from the date such
   2   amounts were due, or as otherwise provided by law; and
   3                For such other and further relief as the Court may deem equitable
   4   and appropriate.
   5                             As to the Ninth Cause of Action
   6                That the Court declare, adjudge and decree that Defendants violated
   7   California Labor Code section 2802 by willfully failing to reimburse and/or
   8   indemnify all business-related expenses and costs incurred by Plaintiffs and class
   9   members;
  10                For unpaid business-related expenses and such general and special
  11   damages as may be appropriate;
  12                For pre-judgment interest on any unpaid business-related expenses
  13   from the date such amounts were due, or as otherwise provided by law;
  14                For all actual, consequential, and incidental losses and damages,
  15   according to proof; and
  16                For such other and further relief as the Court may deem equitable
  17   and appropriate.
  18                             As to the Tenth Cause of Action
  19                That the Court declare, adjudge and decree that Defendants’ conduct
  20   of failing to provide Plaintiffs and class members all overtime wages due to
  21   them, failing to provide Plaintiffs and class members all minimum wages due to
  22   them, failing to provide Plaintiffs and class members all meal and rest periods,
  23   failing to provide Plaintiffs and class members accurate and complete wage
  24   statements, failing to maintain accurate payroll records for Plaintiffs and class
  25   members, failing timely to pay Plaintiffs and class members all earned wages
  26   during employment, failing to pay Plaintiffs and class members all split-shift
  27   premiums owed, failing to pay Plaintiffs and class members all reporting time
  28   pay owed, failing to reimburse Plaintiffs and class members for the costs of

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   1   mandatory pre-employment physicals and drug testing, and failing to reimburse
   2   Plaintiffs and class members for business-related expenses, constitutes an
   3   unlawful business practice in violation of California Business and Professions
   4   Code sections 17200, et seq.;
   5                For restitution of unpaid wages to Plaintiffs and all class members
   6   and prejudgment interest from the day such amounts were due and payable;
   7                For the appointment of a receiver to receive, manage and distribute
   8   any and all funds disgorged from Defendants and determined to have been
   9   wrongfully acquired by Defendants as a result of violations of California
  10   Business & Professions Code sections 17200 et seq.;
  11                For reasonable attorneys’ fees and costs of suit incurred herein
  12   pursuant to California Code of Civil Procedure section 1021.5; and
  13                For such other and further relief as the Court may deem equitable
  14   and appropriate.
  15                         As to the Eleventh Cause of Action
  16                That the Court declare, adjudge and decree that Defendants’ conduct
  17   of denying Plaintiffs and class members the statutory benefits guaranteed under
  18   section 226.7 constitutes an unfair business practice in violation of California
  19   Business and Professions Code sections 17200, et seq.;
  20                For restitution of the statutory benefits under section 226.7 unfairly
  21   withheld from Plaintiffs and class members and prejudgment interest from the
  22   day such amounts were due and payable;
  23                For the appointment of a receiver to receive, manage and distribute
  24   any and all funds disgorged from Defendants and determined to have been
  25   wrongfully acquired by Defendants as a result of violations of California
  26   Business & Professions Code sections 17200 et seq.;
  27                For reasonable attorneys’ fees and costs of suit incurred herein
  28   pursuant to California Code of Civil Procedure section 1021.5;

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   1               For pre-judgment and post-judgment interest as provided by law;
   2   and
   3               For such other and further relief as the Court may deem equitable
   4   and appropriate.
   5

   6   Dated: October 30, 2019                    Respectfully submitted,
   7                                              Capstone Law APC
   8
                                            By:
   9                                              Robert Drexler
                                                  Molly DeSario
  10                                              Jonathan Lee
  11                                              Attorneys for Plaintiffs Michael Kirby,
                                                  Laura Kingston, Keosha Gates,
  12                                              Martha Parra, Michelle Marie Dick,
                                                  and Jeffrey Montes
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